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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE .
WESTERN DIVISION 05 JUL 22 P_H l ul

 

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In re: CONCORD EFS, INC.
SECURITIES LITIG.ATION

No. 02-2697

 

ORDER GRANTIN'G JOINT MOTION FOR PRELIMINARY APPROVAL OF
SETTLEMENT, CONDITIONAL CERTIFICATION OF CLASS, AND METHOD OF
PROPOSED NOTIFICATION OF CLASS MEMBERS

 

On September~ 6, 2002, the first of seven. putative class
actions was filed against Concord EFS, Inc. (“Concord”) and certain
of its officers: Dan M. Palmer, Edward A. Labry, III, Edward T.
Haslam, Marcia E. Heister, Willianl E. Lucado, Christopher S.
Reckert, E. Miles Kilburn, Ronald \L Congemi, and, Richard LL
Kiphart. The complaints alleged that the Defendants had violated
federal securities law by making material misstatements or
omissions, which artificially inflated the price of Concord's
common stock. On November 29, 2002, these suits were consolidated
into the above-styled action. The court appointed Lead Plaintiffs
and Lead Counsel, and on October 22, 2004, the Lead Plaintiffs

filed a motion for class certification.

The parties participated in voluntary mediation sessions with
an independent mediator and engaged in negotiations as part of that

mediation session and afterward. On July 13, 2005, the parties

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notified the court that they had entered into a Stipulation and
Agreement of Settlement of Class Action and filed a joint motion
for preliminary approval of the settlement. After evaluating the
Agreement and holding a hearing on July 15, 2005, the court
concluded that the parties had met the requirements for preliminary
approval of the class settlement. The parties' joint motion for
preliminary approval of the class settlement is GRANTED, and the
October 22, 2004 motion for class certification is DENIED as moot.

It is hereby ORDERED:
I. Preliminary Class Certification for Settlement Purposes

Under Fed. R. Civ. P. 23(a) and (b)(3), this action is
preliminarily certified as a class action for settlement purposes
on behalf of all persons or entities who, from March 29, 2001,
through September 4, 2002, inclusive, (“the Class Period”) bought

or otherwise acquired Concord EFS, Inc. common stock.

Excluded from the Settlement Class are l) such persons or
entities who submit valid and timely requests for exclusion from
the Settlement Class, and 2) such persons or entities who are
Defendants, immediate family members of the individual Defendants,
any entity in which any Defendant has a controlling interest or had
a controlling interest during the Class Period, and the legal
representatives, officers and directors, heirs, successors or

assigns of any party so excluded.

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II. Class Representatives

Under Fed. R. Civ. P. 23, and for purposes of settlement only,
Lead Plaintiffs J.T. Milligan, James Keith Milligan, and J. Curtis

Williams, Jr. are preliminarily certified as Class Representatives.

III. Settlement Hearing

A hearing (the “Settlement Hearing”) will be held under Fed.
R. Civ. P. 23(e) in this court on October 21, 2005, at l:30 p.m.,
to make a final determination of the fairness, reasonableness, and
adequacy of the proposed settlement to the Settlement Class and to
resolve any other legal prerequisites to approval of the
settlement. Plaintiffs' Lead Counsel's memoranda in support of the
class settlement, application for fees, costs, and expenses, shall
be filed no later than October ll, 2005, and shall be available for

inspection at the court clerk's office after filing.
IV. Appointment of Settlement Administrator

The court approves the appointment of The Garden City Group,
Inc., as the Settlement Administrator. Plaintiffs' Lead Counsel
may pay the Settlement Administrator the reasonable and customary
fees and costs associated with the review of claims and
administration of the Settlement Agreement out of the Notice and

Administration Fund without further order of the court.

V. Notice

The court approves the form, substance, and requirements of

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the proposed Notice, the Proof of Claim and Release (“Proof of
Claim”), and the Summary Notice in the form substantially set out
in Exhibits A-l, A-2, and A-3, respectively, to the Settlement
Agreement. Notice will be given according to the method set forth

below.
A. Notice by Mail

Plaintiffs' Lead Counsel shall cause a copy of the Notice and
Proof of Claim to be mailed, by first~class, registered, or
certified mail, postage prepaid, on or before August 10, 2005, to
all Settlement Class Members who can be identified with reasonable
effort. Defendants shall cooperate in making Concord’s transfer
records and shareholder information available to Plaintiffs’ Lead
Counsel and the Settlement Administrator for the purpose of

identifying and giving notice to the Settlement Class.

The Settlement Administrator shall use reasonable efforts to
give notice to Nominees or other individuals who hold stock solely
for the benefit of another. Such Nominees are directed within
seven (7) days of receipt of the Notice to forward copies of the
Notice and Proof of claim to their beneficial owners or to provide
the Settlement Administrator with lists of names and addresses of
the beneficial owners, in which case the Settlement Administrator
is ordered to send the Notice and Proof of Claim promptly to such
beneficial owners. Nominees who elect to send the Notice and Proof

of Claim to their beneficial owners shall send a statement to the

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Settlement Administrator confirming that the mailing was made as
directed. Additional copies of the Notice shall be made available
to any Nominee requesting such copies for the purpose of
distribution to beneficial owners. Nominees shall be reimbursed
from the Notice and .Administration Fund, upon receipt by the
Settlement Administrator of proper documentation, for the
reasonable expenses of sending Notices and Proofs of Claim to
beneficial owners. Plaintiffs’ Lead Counsel shall, at or before
the Settlement Hearing, file with the court proof of mailing of the

Notice and Proof of Claim.
B. Publication on Internet

No later than August 10, 2005, Plaintiffs' Lead Counsel shall
post a copy of the following on their website: l) the Notice, 2)
Proof of Claim, 3) the Complaint, 4) the Settlement Agreement, and
5) such other pleadings, documents, and orders of the court as the

Settling Parties may agree or the court may order.
C. Summary Notice

No later than August 10, 2005, Plaintiffs’ Lead Counsel shall
cause the Summary Notice to be published on at least one occasion
in the national edition of Investor's Business Daily. Plaintiffs’
Lead Counsel shall, at or before the Settlement Hearing, file with

the court proof of publication of the Summary Notice.

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VI. Exclusion from the Settlement Class

Members of the Settlement Class will be bound by all
determinations and judgments in this action and by all provisions
in the Settlement Agreement, if it receives final approval, unless
potential members request exclusion from the Class in a timely and
proper manner, as provided in this order. A potential member of
the Settlement Class wishing to make a request for exclusion must
mail by first-class mail or otherwise deliver the written request
to the Settlement Administrator, care of the address provided in
the Notice, so that the request is postmarked or received no later
than October 4, 2005. A request for exclusion shall clearly
indicate the name, address, and telephone number of the person
seeking exclusion, state that the sender requests to be excluded
from the Settlement Class in the Concord Securities Litigation, and

be signed by the person seeking exclusion.

Persons requesting exclusion are also directed to state the
date(s), price(s), and number of shares of all purchases and other
acquisitions of Concord common stock, or of sales of put options on
Concord common stock, during the Settlement Class Period. All
members who do not submit valid and timely written requests for
exclusion from the Settlement Class (and their heirs, executors and
administrators, predecessors, successors, affiliates as defined by
17 C.F.R. § 210.1-02.b, and assigns) will be bound by all

proceedings, orders, and judgments relating to the settlement, even

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if those members have previously initiated, or subsequently
initiate, litigation, arbitration or any other proceeding, or have

any claim that is deemed released in a settlement approved by the

Court.

Members requesting exclusion from the Settlement Class shall
not be entitled to receive any payment from the Net Settlement
Fund, as described in the Settlement Agreement (if approved) and
Notice. Plaintiffs' Lead. Counsel shall submit a list of the
persons and entities who have requested exclusion to the Court at

or before the Settlement Hearing.
VII. Objections and Appearance at Settlement Hearing

Members of the Settlement Class who have not filed requests
for exclusion may object to any aspect of the proposed Settlement
Agreement, the Plan of Allocation and/or the award of attorneys'
fees and reimbursement of expenses. To be considered by the court,
a member must effect service on Plaintiffs' Lead Counsel and
Defendants' Lead Counsel and file with the court no later than
October 4, 2005, a statement of the member's cbjection(s), setting
out in that statement 1) the member’s name, address, and telephone
number, 2) the member's membership in the Settlement Class, and 3)
the reasons for the member’s objection, including any factual
and/or legal materials supporting that objection. Defendants'
Counsel, Plaintiffs’ Lead Counsel, and any other counsel for the

class, are directed to furnish each other promptly with copies of

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any and all objections or written requests for exclusion that come
into their'possession. If a member hires an attorney to represent
him for the purposes of objecting to the settlement, the attorney
must effect service of a notice of appearance on Plaintiffs' Lead
Counsel and Defendants' Counsel and file it with the Court no later
than October 4, 2005. Any member who does not timely file and
serve a notice of intention to appear in accordance with this
paragraph shall not be permitted. to appear at the Settlement
Hearing, except for good cause shown. Members do not need to
appear at the hearing or take any other action to indicate their

approval.
VIII. Preliminary Injunction

Pending the final approval of the proposed settlement, no
member of the Settlement Class (or the member’s heirs, executors
and administrators, predecessors, successors, affiliates as defined
by 17 C.F.R. § 210.1-02.b, and assigns) may, either directly,
representatively, or in any other capacity, file, commence,
prosecute, intervene in, participate in (as class members or
otherwise) or receive any benefits or other relief from any other
lawsuit, arbitration, or administrative, regulatory or other
proceeding in any jurisdiction based on or relating in any way to

the claims and causes of action in the instant lawsuit.

Pending final approval of the proposed settlement, no persons
or entities may organize members into a separate class for purposes

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of pursuing as a purported class action (including by seeking to
amend a pending complaint to include class allegations, or by
seeking class certification in a pending action) any lawsuit based
on or relating to the claims and causes of action in the instant

lawsuit.

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IX. Conclusion

The parties' joint motion is GRANTED. The parties are ORDERED
to comply with the following deadlines and notice given by the
parties shall incorporate the deadlines where applicable: 1) notice
of the proposed settlement is to be given to class members
according to the instructions above no later than August 10, 2005,
2) notice that a potential class member wishes not to join the
settlement class, objects to the proposed settlement, or has
retained counsel to represent the member at the Settlement Hearing
must be provided according to the instructions above no later than
October 4, 2005, and 3) Plaintiffs' Lead Counsel's memoranda in
support of the class settlement, application for fees, costs, and
expenses, shall be filed no later than October 11, 2005. The
Settlement Hearing will be held on October 21, 2005, 1:30 p.m., in
11th Floor Courtroom #2, Clifford Davis Federal Building, 167 North

Main Street, Memphis, Tennessee 38103.

So ordered this l\:l’day of July 2005.

MM/h/L__.`

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 131 in
case 2:02-CV-02697 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

